            Case: 3:18-cv-00198 Doc #: 1 Filed: 01/25/18 1 of 9. PageID #: 1




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

United States of America,                       )   Civil Case No.: 3:18-cv-198
                                                )
                       Plaintiff,               )
                                                )   Judge
       v.                                       )
                                                )
61 Gift Cards from Multiple Issuers,            )
                                                )   VERIFIED
                       Defendant.               )   COMPLAINT IN FORFEITURE
                                                )

       NOW COMES plaintiff, the United States of America, by Justin E. Herdman, United

States Attorney for the Northern District of Ohio, and Guillermo J. Rojas, Assistant U.S.

Attorney, and files this Verified Complaint in Forfeiture, respectfully alleging on information

and belief the following in accordance with Supplemental Rule G(2) of the Federal Rules of

Civil Procedure:

                         NATURE OF ACTION AND JURISDICTION

       1.      This is an action to forfeit the defendant property to the United States. The

defendant property consists of 61 gift cards from multiple issuers identified in Exhibit (1)

(hereinafter referred to as “Defendant Gift Cards”). The combined value remaining on the

Defendant Gift Cards is $30,010.53.

       2.      On December 8, 2015, the Ohio State Highway Patrol (“OSHP”) lawfully seized

the Defendant Gift Cards pursuant to a traffic stop on Interstate Route 75 in Hancock County,

Ohio. OSHP seized the Defendant Gift Cards from a car driven by Deleisha Evangela

Doughrity (“Doughrity”). The OSHP found the gift cards in a jacket that had been near a rear

seat passenger named Gary Eugene Jackson III (“Jackson”).
               Case: 3:18-cv-00198 Doc #: 1 Filed: 01/25/18 2 of 9. PageID #: 2



         3.        Subsequent to seizure, on December 10, 2015, OSHP transferred custody of the

Defendant Gift Cards to the United States Secret Service, Toledo Resident Office. The

Defendant Gift Cards remain in a vault at this location.

         4.       On August 26, 2016, the USSS sent an Abandonment Letter to Jackson, notifying

Jackson of the USSS intent to abandon the Defendant Gift Cards. Jackson did not respond to

this letter.

         5.       This Court has subject matter jurisdiction over an action commenced by the United

States under 28 U.S.C. § 1345, and over an action for forfeiture under 28 U.S.C. § 1355(a).

         6.       This Court has in rem jurisdiction over the Defendant Gift Cards pursuant to 28

U.S.C. § 1355(b)(1)(B), incorporating 28 U.S.C. § 1395, because the property was found in this

district.

         7.       Venue is proper in this district under 28 U.S.C. § 1355(b)(1)(B), incorporating 28

U.S.C. § 1395, because the Defendant Gift Cards were found in this district.

         8.       The Court will have control over the defendant property through service of an

arrest warrant in rem, which the Plaintiff will execute upon the Defendant Gift Cards. See

Supplemental Rule G(3)(b)-(c); 28 U.S.C. § 1355(d).

                                      BASIS OF FORFEITURE

         9.       The Defendant Gift Cards are subject to forfeiture pursuant to 18 U.S.C. §

981(a)(1)(C), because they constitute or are derived from proceeds traceable to access device

fraud under Title 18 U.S.C. § 1029(a)(5).

         10.      A violation of 18 U.S.C. §§ 1029(a)(5) occurs when an individual—

                  knowingly and with intend to defraud effects transactions, with 1 or more access
                  devices issued to another person or persons, to receive payment or any other thing
                  of value during any 1-year period the aggregate value of which is equal to or
                  greater than $1,000.

                                                   2
             Case: 3:18-cv-00198 Doc #: 1 Filed: 01/25/18 3 of 9. PageID #: 3




                                         FORFEITURE COUNT

       11.        On December 8, 2015, Trooper Justin Craig, Ohio State Highway Patrol,

observed a 2015 Toyota Camry travelling at 79 MPH in a zone with a speed limit of 65 MPH.

       12. Tpr. Craig stopped the Camry, asked the driver for her license and registration, and

explained the reason for the stop.

       13.     The driver produced a Michigan driver’s license identifying her as Deleisha

Doughrity. Tpr. Craig also observed a right front seat passenger and right back seat passenger.

       14.        Tpr. Craig detected the strong odor of burnt marijuana coming from within the car.

       15.        Tpr. Craig also learned that the Camry was a rental vehicle, and the renter was not

in the vehicle.

       16.        Tpr. Craig called for another unit to come to the scene for a probable cause search

on suspicion of illegal drug activity.

       17.        After a consensual pat down, Tpr. Craig placed Doughrity in his patrol car and

asked about her travels. Doughrity indicated that she and the other passengers were returning

from a shopping excursion to Dayton but had not bought anything.

       18.        Tpr. Craig asked if anyone had smoked marijuana in the Camry, and Doughrity

said that the right front seat passenger had done so.

       19. Doughrity indicated that the right back seat passenger was her brother and that she

only knew the nickname of the right front seat passenger.

       20. Tpr. Craig returned to the Camry and asked for the identification of the right front

seat passenger. This individual produced a Michigan ID card identifying her as Saikeia

Mcdougle.

       21.        Tpr. Craig asked about her travels, and Mcdougle indicated that she and the others

                                                   3
               Case: 3:18-cv-00198 Doc #: 1 Filed: 01/25/18 4 of 9. PageID #: 4



were visiting the right back seat passenger’s friend in Cincinnati. This response differed from

Doughrity’s response to the same question.

         22.      At this time another OSHP Trooper, Tpr. Derthick, arrived to assist with the

planned probable cause search.

         23.      Tpr. Craig conducted a consensual pat down of Mcdougle and placed her in his

patrol car.

         24.      Tpr. Derthick identified the third passenger as Gary Eugene Jackson, III from his

passport and then secured Jackson in his patrol car.

         25.      Tpr.’s Craig and Derthick proceeded to perform a probable cause search of the

Camry. They found a metal grinder containing suspected marijuana located in the center

console cubby.

         26.      The Troopers also found a large number of gift cards located in a black jacket in

the right rear passenger seat where Jackson previously sat.

         27.      The Troopers also found a Michigan ID and credit card for an individual not

present named Brittany Ann Davis. Doughrity, Mcdougle and Jackson all denied knowing

Davis.

         28.      The Troopers searched the Camry’s trunk and found a laptop computer and a

device appearing to be a credit card reader or scanner inside a backpack.

         29.      At OSHP’s direction, a private towing company took the Camry back to the

Findlay State Highway Patrol Post for a more thorough search. Troopers Craig and Derthick

took the suspects to the same location.

         30.      Once at the Findlay State Highway Patrol Post, Troopers conducted a more

thorough search of the suspects and the Camry.


                                                   4
             Case: 3:18-cv-00198 Doc #: 1 Filed: 01/25/18 5 of 9. PageID #: 5



       31.      Troopers found eight suspected fraudulent credit/gift cards in Jackson’s wallet,

several of which were in the names of individuals other than Jackson.

       32.      Troopers counted 61 gift cards that came from the black jacket that had been on

the Camry’s rear passenger seat. These 61 gift cards constitute the Defendant Gift Cards.

       33.      Troopers found Kroger receipts detailing the purchase of gift cards in a bag that

contained Best Buy gift card packaging.

       34.      The Kroger receipts showed $6,517.85 worth of gift card purchases. However,

the suspects did not have the credit card used to purchase the gift cards.

       35.      The fact that the suspects did not have the credit card used for purchasing the gift

cards indicates that individuals may have embedded a false number on the card used to make the

purchases.

       36.      Troopers also found a green coat in the Camry’s rear passenger seat that

contained five American Express cards with an unknown individual’s name.

       37.      Jackson claimed ownership and asked to take possession of the green coat and

backpack.

       37.      On December 10, 2015, the OSHP transferred the Defendant Gift Cards, along

with other evidence, to the United States Secret Service (“USSS”) for further investigation.

       38.      The USSS discovered that a balance of $30,010.53 remained on the Defendant

Gift Cards. Loss prevention services at Kroger subsequently linked a total of $100,000.00 in

gift card purchases to the same Kroger Plus guest account that appeared on the Kroger receipt

found in the Camry.

       39.      Kroger surveillance video shows two of the suspects entering stores and making

gift card purchases with credit cards.


                                                  5
             Case: 3:18-cv-00198 Doc #: 1 Filed: 01/25/18 6 of 9. PageID #: 6



       40.      Bank of America responded to a USSS subpoena for records relating to the

altered credit cards found in the Camry. The records produced show that thee of the credit cards

show unauthorized Kroger transactions on December 8, 2015, the same day Tpr. Craig stopped

the Camry.

                                         CONCLUSION

       41.      By reason of the foregoing, the Defendant Gift Cards are subject to forfeiture

pursuant to 18 U.S.C. § 981(a)(1)(C), as property constituting or derived from access device

fraud under Title 18 U.S.C. § 1029(a)(5).

                                      CLAIM FOR RELIEF

       WHEREFORE the United States prays that the Court order the Defendant Gift Cards

forfeited to the United States, award the United States costs and disbursements in this action, and

provide such other and further relief as the Court deems proper and just.

                                              Respectfully submitted,

                                              JUSTIN E. HERDMAN
                                              UNITED STATES ATTORNEY

Dated: January 25 , 2018                 /s/ Guillermo J. Rojas
                                              Guillermo J. Rojas (#0069882)
                                              Assistant U.S. Attorney
                                              Four Seagate, Suite 308
                                              Toledo, Ohio 43604-2624
                                              Phone/Fax: (419) 259-6376/6360
                                              Guillermo.Rojas@usdoj.gov




                                                 6
           Case: 3:18-cv-00198 Doc #: 1 Filed: 01/25/18 7 of 9. PageID #: 7



                                       VERIFICATION

       I, Steve Snyder, am a Special Agent with the United States Secret Service and the case

agent assigned to this case. I have read the contents of the foregoing Verified Complaint for

Forfeiture, and the statements contained therein are true to the best of my knowledge and belief.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

       Executed on this    24       day of   January    , 2018.


                                              /s/ Steve Snyder
                                             Steve Snyder
                                             Special Agent
                                             United States Secret Service



       Sworn to and subscribed in my presence this 24th      day of January , 2018.



                                              /s/ Jennifer L. Ramon
                                             Notary Public

                                             My commission does not expire.




                                                7
           Case: 3:18-cv-00198 Doc #: 1 Filed: 01/25/18 8 of 9. PageID #: 8



                                       VERIFICATION

       I, Justin G. Craig, hereby verify and declare under penalty of perjury that I am a Trooper

with the Ohio State Highway Patrol, that I have read the foregoing Verified Complaint, and the

statements contained therein are true to the best of my knowledge and belief.

       I hereby verify and declare under penalty of perjury that the foregoing is true and correct

to the best of my knowledge and belief.


       Executed on this 25th      day of     January     , 2018.


                                             /s/ Tpr. J. G. Craig
                                             Justin G. Craig
                                             Trooper
                                             Ohio State Highway Patrol




       Sworn to and subscribed in my presence this 25th day of January           , 2018


                                              /s/ Rhonda Eck
                                             Notary Public

                                             My commission expires on 6/2018




                                                8
           Case: 3:18-cv-00198 Doc #: 1 Filed: 01/25/18 9 of 9. PageID #: 9



                                 CERTIFICATE OF SERVICE


       I hereby certify that on January 25th , 2018, a copy of the foregoing was filed with the

Court. All Parties listed below will be served, by certified U.S. Mail, with a copy of the instant

Verified Complaint along with a Notice of a Complaint for Forfeiture. Parties may also access

this filing through the Court’s electronic filing system.

Deleisha Evangela Doughrity
4189 University Place
Detroit, MI 48201

Saikeia Traivonia Mcdougle
21704 Rockwell Street
Farmington Hills, MI 48331

Gary Eugene Jackson III
8620 Ohio Street
Detroit, MI 48201



                                               /s/ Guillermo J. Rojas
                                               Guillermo J. Rojas
                                               Assistant U. S. Attorney




                                                  9
                                   Case: 3:18-cv-00198 Doc #: 1-1 Filed: 01/25/18 1 of 2. PageID #: 10
JS 44 (Rev. 06/17)                                                         CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                             DEFENDANTS
United States of America                                                                                    61 (Sixty-one) Gift Cards from Multiple Users


    (b) County of Residence of First Listed Plaintiff                                                         County of Residence of First Listed Defendant              Lucas
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
Guillermo J. Rojas - U.S. Attorney's Office - Four Seagate, Ste. 308 -
Toledo, OH 43604-2624 (419-259-6376)
email: Guillermo.Rojas@usdoj.gov

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                        and One Box for Defendant)
’ 1    U.S. Government                ’ 3     Federal Question                                                                     PTF       DEF                                           PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         ’ 1       ’ 1       Incorporated or Principal Place       ’ 4     ’ 4
                                                                                                                                                         of Business In This State

’ 2    U.S. Government                ’ 4     Diversity                                              Citizen of Another State          ’ 2    ’    2   Incorporated and Principal Place    ’ 5     ’ 5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                     Citizen or Subject of a           ’ 3    ’    3   Foreign Nation                      ’ 6     ’ 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                             Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                             TORTS                                  FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES
’   110 Insurance                        PERSONAL INJURY                PERSONAL INJURY              ’ 625 Drug Related Seizure          ’ 422 Appeal 28 USC 158          ’ 375 False Claims Act
’   120 Marine                       ’   310 Airplane                 ’ 365 Personal Injury -              of Property 21 USC 881        ’ 423 Withdrawal                 ’ 376 Qui Tam (31 USC
’   130 Miller Act                   ’   315 Airplane Product               Product Liability        ’ 690 Other                               28 USC 157                       3729(a))
’   140 Negotiable Instrument                 Liability               ’ 367 Health Care/                                                                                  ’ 400 State Reapportionment
’   150 Recovery of Overpayment      ’   320 Assault, Libel &               Pharmaceutical                                                 PROPERTY RIGHTS                ’ 410 Antitrust
        & Enforcement of Judgment             Slander                       Personal Injury                                              ’ 820 Copyrights                 ’ 430 Banks and Banking
’   151 Medicare Act                 ’   330 Federal Employers’             Product Liability                                            ’ 830 Patent                     ’ 450 Commerce
’   152 Recovery of Defaulted                 Liability               ’ 368 Asbestos Personal                                            ’ 835 Patent - Abbreviated       ’ 460 Deportation
        Student Loans                ’   340 Marine                         Injury Product                                                     New Drug Application       ’ 470 Racketeer Influenced and
        (Excludes Veterans)          ’   345 Marine Product                 Liability                                                    ’ 840 Trademark                        Corrupt Organizations
’   153 Recovery of Overpayment               Liability                PERSONAL PROPERTY                         LABOR                     SOCIAL SECURITY                ’ 480 Consumer Credit
        of Veteran’s Benefits        ’   350 Motor Vehicle            ’ 370 Other Fraud              ’ 710 Fair Labor Standards          ’ 861 HIA (1395ff)               ’ 490 Cable/Sat TV
’   160 Stockholders’ Suits          ’   355 Motor Vehicle            ’ 371 Truth in Lending                Act                          ’ 862 Black Lung (923)           ’ 850 Securities/Commodities/
’   190 Other Contract                       Product Liability        ’ 380 Other Personal           ’ 720 Labor/Management              ’ 863 DIWC/DIWW (405(g))               Exchange
’   195 Contract Product Liability   ’   360 Other Personal                 Property Damage                 Relations                    ’ 864 SSID Title XVI             ’ 890 Other Statutory Actions
’   196 Franchise                            Injury                   ’ 385 Property Damage          ’ 740 Railway Labor Act             ’ 865 RSI (405(g))               ’ 891 Agricultural Acts
                                     ’   362 Personal Injury -              Product Liability        ’ 751 Family and Medical                                             ’ 893 Environmental Matters
                                             Medical Malpractice                                            Leave Act                                                     ’ 895 Freedom of Information
        REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS            ’ 790 Other Labor Litigation          FEDERAL TAX SUITS                    Act
’   210 Land Condemnation            ’   440 Other Civil Rights         Habeas Corpus:               ’ 791 Employee Retirement           ’ 870 Taxes (U.S. Plaintiff      ’ 896 Arbitration
’   220 Foreclosure                  ’   441 Voting                   ’ 463 Alien Detainee                 Income Security Act                  or Defendant)             ’ 899 Administrative Procedure
’   230 Rent Lease & Ejectment       ’   442 Employment               ’ 510 Motions to Vacate                                            ’ 871 IRS—Third Party                  Act/Review or Appeal of
’   240 Torts to Land                ’   443 Housing/                       Sentence                                                            26 USC 7609                     Agency Decision
’   245 Tort Product Liability               Accommodations           ’ 530 General                                                                                       ’ 950 Constitutionality of
’   290 All Other Real Property      ’   445 Amer. w/Disabilities -   ’ 535 Death Penalty                  IMMIGRATION                                                          State Statutes
                                             Employment                 Other:                       ’ 462 Naturalization Application
                                     ’   446 Amer. w/Disabilities -   ’ 540 Mandamus & Other         ’ 465 Other Immigration
                                             Other                    ’ 550 Civil Rights                   Actions
                                     ’   448 Education                ’ 555 Prison Condition
                                                                      ’ 560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
’ 1 Original             ’ 2 Removed from                 ’ 3         Remanded from             ’ 4 Reinstated or       ’ 5 Transferred from     ’ 6 Multidistrict                  ’ 8 Multidistrict
    Proceeding               State Court                              Appellate Court               Reopened                Another District             Litigation -                   Litigation -
                                                                                                                        (specify)                        Transfer                      Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                            18 U.S.C. § 981; 18 U.S.C. § 1029(a)(5)
VI. CAUSE OF ACTION Brief description of cause:
                                           Access device fraud; Seizure of fraudulently-obtained gift cards
VII. REQUESTED IN     ’ CHECK IF THIS IS A CLASS ACTION                                                 DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                  JURY DEMAND:         ’ Yes      ’ No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                             DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
01/25/2018                                                              /s/ Guillermo J. Rojas
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                          MAG. JUDGE

                 Print                               Save As...                                                                                                                  Reset
JS 44 Reverse (Rev. 06/17)   Case: 3:18-cv-00198 Doc #: 1-1 Filed: 01/25/18 2 of 2. PageID #: 11
                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         When the petition for removal is granted, check this box.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
         Case: 3:18-cv-00198 Doc #: 1-2 Filed: 01/25/18 1 of 2. PageID #: 12




                        UNITED STATES DISTRICT COURT FOR THE
                             NORTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

United States of America,                        )      Case No. 3:18-cv-198
                                                 )
                       Plaintiff,                )
                                                 )      Judge
       v.                                        )
                                                 )
61 Gift Cards from Multiple Users,               )
                                                 )      WARRANT OF ARREST IN REM
                       Defendant.                )
                                                 )
                                                 )
To the United States Marshal for the Northern District of Ohio:

       WHEREAS, a verified complaint of forfeiture has been filed on January 25, 2018, in the

United States District Court for the Northern District of Ohio, alleging that the defendant property is

subject to seizure and forfeiture to the United States for the reasons alleged in the complaint; and

       WHEREAS, the defendant property is currently in the possession, custody or control of the

United States; and

       WHEREAS, in these circumstances Supplemental Rule G(3)(b)(i) directs the Clerk of the

Court to issue an arrest warrant in rem for the defendant property; and

       WHEREAS, Supplemental Rule G(3)(c)(i) provides that the warrant of arrest in rem must be

delivered to a person or organization authorized to execute it who may be a marshal or any other

United States officer or employee, someone under contract with the United States, or someone
         Case: 3:18-cv-00198 Doc #: 1-2 Filed: 01/25/18 2 of 2. PageID #: 13



specially appointed by the court for that purpose.

       YOU ARE, THEREFORE, HEREBY COMMANDED to arrest the defendant property as

soon as practicable by serving a copy of this warrant on the custodian in whose possession, custody

or control the property is presently found, and to use whatever means may be appropriate to protect

and maintain it in your custody until further order of this Court.

       YOU ARE FURTHER COMMANDED, promptly after execution of this process, to file the

same in this Court with your return thereon, identifying the individuals upon whom copies

were served and the manner employed.


       Dated at Toledo, Ohio, this __________ day of ____________________, 2018.



                                                      GERI M. SMITH, CLERK



                                                      Deputy Clerk




                                                  2
                           Case: 3:18-cv-00198 Doc #: 1-3 Filed: 01/25/18 1 of 1. PageID #: 14
  U.S. Department of Justice                                                              PROCESS RECEIPT AND RETURN
  United States Marshals Service                                                          See "Instructions for Service of Process by U.S. Marshal"

   PLAINTIFF                                                                                                            COURT CASE NUMBER
   United States of America                                                                                             3:18-cv-198
   DEFENDANT                                                                                                            TYPE OF PROCESS
   61 (Sixty-one) Gift Cards from Multiple Users                                                                       Warrant of Arrest In Rem
                        NAME OF INDIVIDUAL, COMPANY, CORPORATION. ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

       SERVE
          AT     {      U.S. Marshals Service
                        ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)

                        1716 Spielbusch Avenue, Toledo, Ohio 43624
   SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW                                               Number of process to be
                                                                                                                    served with this Form 285    1

                   Guillermo J. Rojas, Assistant U.S. Attorney                                                      Number of parties to be
                   U.S. Attorney's Office                                                                           served in this case          1
                   Four Seagate, Suite 308
                   Toledo, OH 43604-2624                                                                            Check for service
                                                                                                                    on U.S.A.                    1

       SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,
       All Telephone Numbers, and Estimated Times Available for Service):
Fold                                                                                                                                                                  Fold


        Control Document

        CATS No. 16-USS-000546


   Signature of Attorney other Originator requesting service on behalf of:                  PLAINTIFF            TELEPHONE NUMBER                  DATE

                                                                                            DEFENDANT            419-259-6376                        1/25/18
       SPACE BELOW FOR USE OF U.S. MARSHAL ONLY-- DO NOT WRITE BELOW THIS LINE
   I acknowledge receipt for the total     Total Process   District of      District to       Signature of Authorized USMS Deputy or Clerk                 Date
   number of process indicated.                            Origin           Serve
   (Sign only for USM 285 if more
   than one USM 285 is submitted)                          No.              No.

   I hereby certify and return that I  have personally served ,       have legal evidence of service,     have executed as shown in "Remarks", the process described
   on the individual , company, corporation, etc., at the address shown above on the on the individual , company, corporation, etc. shown at the address inserted below.

          I hereby certify and return that I am unable to locate the individual, company, corporation, etc. named above (See remarks below)
   Name and title of individual served (if not shown above)                                                                    A person of suitable age and discretion
                                                                                                                               then residing in defendant's usual place
                                                                                                                               of abode
   Address (complete only different than shown above)                                                                      Date                  Time
                                                                                                                                                                          am
                                                                                                                           1/25/2018                                      pm

                                                                                                                           Signature of U.S. Marshal or Deputy


   Service Fee          Total Mileage Charges Forwarding Fee             Total Charges        Advance Deposits     Amount owed to U.S. Marshal* or
                        including endeavors)                                                                       (Amount of Refund*)

                                                                                                                                         $0.00
   REMARKS:




   DISTRIBUTE TO: 1. CLERK OF THE COURT                                                                                                 PRIOR EDITIONS MAY BE USED
                  2. USMS RECORD
                  3. NOTICE OF SERVICE
                  4. BILLING STATEMENT*: To be returned to the U.S. Marshal with payment,
                     if any amount is owed. Please remit promptly payable to U.S. Marshal.                                                                     Form USM-285
                  5. ACKNOWLEDGMENT OF RECEIPT                                                                                                                     Rev. 11/13
